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lN THE UN|TED STATES DlSTRlCT COURT OF AR|ZONA COURT OF THE STATE OF ARIZONA
IN AND FOR THE COUNTY OF PHOEN|X

HKB, lNC., an Arlzona oorporat|on, doing Case Number: 2:16-CV-03799-DJH
business as Southwest lndustrlal rlgglng
P|aintiff,
AFF|DAV|T OF SERV|CE
vs.

Board of Trustee for the Southwest Carpenter's
, Southwest Trust; Carpenters Southwest
administrative oorp.

Defendant.

Received by PROCESS SERVER EXPRESS on the 3rd day of November, 2016 at 12:09 pm to be served on John
T. De Car|o Carpenters Southwest Admlnlstratlve oorp, 533 South Fremont Ave, 9th Floorl Los Ange|es, CA
90071.

l, Supawadee Viwatkurku|l being duly swornl depose and say that on the 3rd day of November, 2016 at 1:26 pm, l:
lNDlVlDUALLY/PERSONALLY served by delivering a true copy of the Sommon ln a Clvll action, Complalnt for
declaratory judgment with the date and hour of service endorsed thereon by me, to: John T. De Car|o
Carpenters Southweet Admlnlstrat|ve corp at the address of: 533 South Fremont Ave, 9th F|oor, Loe
Angeles, CA 90071. and informed said person of the contents thereinl in compliance with state statutes.

| certify that l am over the age of 18. have no interest in the above action. and am a Certit"red Process Serverl in
good standing, in the judicial circuit in which the process was served.

Ll

 

 

Subscn°bed and Sworn to before me on the 3rd day of pawadee Vlwatkurkul
November. 2016 by the affiant who is personally 015256348
known to me.
PROCESS SERVER EXPRESS
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(562) 986-8043

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